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EXHIBIT A

 
mA, -3 230
«

Case-1:09-cr-00459:SAG Document 22-1 Filed 08/19/10 Page:2ofaz7, 2009, 21:3

“3GACY RESPONSE TIME 2133 CATE 972109 PAGE 31
QUERY FORMAT: OLN/G615234009739.NPY/99
CuN: G-615-234-CC09-739
NAME: ERIC GRIFFIN RACE: 1-BLACK SEX: M
ADDR: 1220 RAMBLEWOOD RD HGT: 5'06" WGT: 155 DOB: 09-24-79
CITY: BALTIMORE COUNTY: ST: MD ZIP: 21239-2637
* TOTAL CURRENT POINTS 00
* LICENSE STATUS: SUSPENDED
* COMMERCIAL DRIVER'S LIC. status:
* SPECIAL ATTENTION * NONE
* LICENSE DATA .
CLASS LICENSE ISSUE EXPIRE
. TYPE DATE DATE RESTRICTIONS
ID D- 09-18-08 02-10-11 2

* SPECIAL RESTRICTIONS
CLASS CODE DESCRIPTION BEGIN DATE END DATE

NEXT PAGE. P/N Y10U

 
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EXHIBIT B

 

 
 
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EXHIBIT C

 

 

 
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CIRCUIT COURT
OR
DISTRICT COURT OF MARYLAND
BALTIMORE CITY/BALTIMORE COUNTY

APPLICATION FOR SEARCH AND SEIZURE WARRANT

.
To the Honorable Judge __ 2h on | of the District/Circuit Court the
undersigned being duly sworn deposes and says that he has reason to believe that in the

 

location known as:

- 1264 Kitmore Road a two story townhouse with a maroon front door and _ the
numbers 1264 on the residence
in Baltimore City, there is now being concealed certain Property, namely; See

attachment Exhibit A:
‘hich is in violation of the Laws of

W
through CR 5-1101 and Title 7-

And that the facts tending to establish grounds for issuance of Search Warrant are set
forth in the Affidavit attached thereto and made a part thereof

ants pray that a Search and Seizure Warrant be issued for said

 

WHEREFORE your Affi
location. .
AFFIANT

 

AFFIANT

SWORN to before me and subscribed to in my presence dared this -)) Le

 

f
of July , 2009,

 

 
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Siem eR,

 

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CIRCUIT COURT
OR
DISTRICT COURT OF MARYLAND
BALTIMORE CITY/BALTIMORE COUNTY

SEARCH AND SEIZURE WARRANT

To: Any Police Officer of Baltimore City:
Affidavit having been made before me by Detective Keith Gladstone and Detective

Ivo Louvado, said Affidavit being incorporated by reference into warrant and made a part
believe that at the location described as:

' thereof, that he has reason to
1264 Kitmore Road a two story townhouse with a maroon front door and the
humbers 1264 on the residence
ents ££04 on the residence

See

in Baltimore City, there is now being concealed certain property, namely;

 

roperty specified, executing this

warrant and making the search; and if the property be found there, to seize it; and if upon
execution of this warrant, there are found persons then and there engaged in the. °
commission of a crime, arrest those so participating: leaving a copy of this warrant and
inventory of the property seized and returning copy of said warrant and inventory, if any,
to me within ten days after execution of this warrant; or, if not served, to return this

warrant to me promptly, but not later than five days after this expiration, as required by

law.
yo
Dated this +t _ of July, 2009.
Signed
a on " ee
WI
JUDGE

 
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AFFIDAVIT

I. Purpose of the Affidavit

This Affidavit is submitted in Support of a search and se
Criminal Code CR 5-10]

nd. Because this Affidavit is

izure warrant pertaining

to violations of the Controlled Dangerous Substance laws,

through CR 5-1101 of the Criminal Law Article of Maryla
being submitted for this limited purpose, your Affiant has not included every detail of the

stigation that has been conducted to date. Rather, your Affiant has set forth only
blish probable cause. Your

n to your Affiant that would
in this Affidavit is

nd other

inve
those facts that your Affiant believes are necessary to esta
Affiant has not, however, excluded any information know
defeat a determination of probable cause. The information contained
based upon your Affiant’s personal knowledge, a review of documents a
evidence, and conversations with other law enforcement officers and other individuals.

All conversations and statements described in this Affidavit are related in substance and

in part unless otherwise indicated.

I, Premises to be Searched
=i ihises to De Searched

1264 Kitmore Road Baltimore Maryland |

Il, Affiant Keith Gladstone
Your Affiant, Keith Gladstone, has been a sworn officer of the Baltimore Police

Department since November 1992 and is currently assigned to the Organized Crime

Division. Your Affiant successfully completed a six-month basic course of training that

included classes pertaining to Controlled Dangerous Substances (CDS). Your Affiant has

also attended more than five advanced investigative courses. Prior assignments include

uniform patrol, and District Operations Unit,
ations involving criminal activity including
our Affiant has participated in

Your Affiant has personaliy conducted and

participated in numerous investig but not

limited to CDS, violent crime, and firearms violations, Y

the arrest of approximately 1000 persons for CDS, violent crime, and/or firearms

and/or executed more than 400 Search and Seizure Warrants

violations and has authored

relating to CDS, violent crime, and/or firearms violations.

 
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Through training and interviews of hundreds of Persons arrested for CDS

ant is familiar with the actions, traits, habits, and terminology utilized

offenses, your Affi
ant has also participated in hundreds of surveillances of

by traffickers of CDS. Your Affi
traffickers. Based upon your Affiant’s training,
al CDS, your Affiant knows the

suspected drug experience and

participation in other investigations involving illeg

following:

a) That drug traffickers often place communications devices, vehicles and other

assets in names other than their Own to avoid detection of these items by law enforcement

officials:

b) That even though these items are in another entity or person’s name, the drug
dealers actually own and continue to use these devices and assets and to exercise
dominion and control over them;

c) That drug traffickers maintain on hand amounts of US. currency in order to
maintain and finance their ongoing drug business;

d) That drug traffickers maintain books, records, receipts,
: y orders, and other papers relating to

notes, ledgers,

the transportation, ordering, sale, and distribution of CDS and the profits derived trom

those transactions, and maintain these items where they have ready access to them, such

"as in their residence, place of business, safety deposit boxes, or storage lockers;

e) That drug traffickers commonly “front” (provide on consignment) CDS to

their clients and keep records of these transactions;

f) That it is common for drug tratfickers to secrete illegal drugs and other

contraband, records of drug transactions, amounts of currency, financial instruments,

precious metals, Jewelry, and other items of value which are Proceeds of drug

transactions and evidence of financial transactions in secure locations within their

residence and place of business, including in combination or key-lock safes or strong

abinets and other types of locked or closed containers, hidden

boxes, suitcases, locked ¢
compartments, safety deposit boxes, and storage lockers for ready access and to conceal
them from law enforcement authorities:

8) That when drug traffickers amass proceeds from the sale of drugs, the drug

traffickers attempt to legitimize these profits: that to accomplish this goal, drug

 

 
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traffickers utilize domestic banks and their attendant services, securities, cashier’s

checks, money drafts, letters of credit, brokerage houses, real estate, shell corporations,

and business fronts, and that drug traffickers commonly keep records of these

transactions in their residence, place of business, safety deposit boxes, and storage

lockers:
h) That drug

books or papers which reflect name
associates; and that they commonly use and carry cellular telephones, pagers

traffickers commonly maintain addresses and telephone numbers in
s, addresses, and telephone numbers of their drug-

trafficking
and/or personal digital assistants that store names, addresses, telephone numbers, and

codes of co-conspirators:

1) That drug traffi
es, their associates, their Property and/or assets, and their drugs; that

ckers commonly take or cause to be taken photographs and

videos of themselv

these traffickers usually maintain these photographs and videos in their Possession in

their residence, place of business, or in storage lockers;

Do _ 4). That-it is‘also common for drug traffickers to use vehicles tO move quantities of

we ‘drugs'and currency to other locations for storage and further distribution and use; and
k) That drug traffickers often rent vehicles instead of using their own to prevent

their own vehicles from being seized by law. enforcement officials.

‘Affiant Ivo Louvado
“our Affiant, Ivo Louvadc

    

 

een a.sworn. officer of the-Baltimore Police *

currently assigned to the Violent Crime Impact

RE

    
 

partiient since November 1999 and is
Division. Your Affiant successfully completed a six-month basic course of training that

included classes pertaining to Controlled Dangerous Substances (CDS). Your Affiant has

also attended more than five advanced investigative courses, Prior assignments include

uniform patrol and District Operations Unit, Your Affiant has personally conducted and

participated in numerous investigations involving criminal activity including but not

limited to CDS, violent crime. and firearms violations. Your Affiant has participated in

the arrest of approximately 1000 persons for CDS, violent crime, and,or firearms

violations and has authored and, or executed more than 200 Search and Seizure Warrants

relating to CDS, violent crime, and, or firearms violations

 
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Through training and interviews of hundreds of persons arrested for CDS

offenses, your Affiant is familiar with the actions, traits, habits, and terminology utilized

affickers of CDS. Your Affiant has also participated in hundreds of surve
experience and

by tr illances of
suspected drug traffickers. Based upon your Affiant’s training,
participation in other investigations involving illegal CDS, your Affiant knows the
following:

a) That drug traffickers often place communications de
oid detection of these items by law enforcement

vices, vehicles and other

assets in names other than their own to av.

officials:
b) That even though these items are in another entity or person’s name, the drug

dealers actually own and continue to use these devices and assets and to exercise

dominion and control over them;

c) That drug traffickers maintain on hand amounts of U.S. currency in order to

maintain and finance their ongoing drug business;
d) That drug traffickers maintain books, records, receipts, notes, ledgers,

transportation tickets and other travel records, money orders, and other papers relating to

the transportation, ordering, sale, and distribution of CDS and the profits derived from

those transactions, and maintain these items where they have ready access to them, such °

as in their residence, place of business, safety deposit boxes, or storage lockers;

e) That drug traffickers commonly “front” (provide on consignment) CDS to

their clients and keep records of these transactions;
ckers to secrete illegal drugs and other

f) That it is common for drug traffi
nancial instruments,

contraband, records of drug transactions, amounts of currency, fi

precious metals, jewelry, and other items of value which are proceeds of drug

transactions and evidence of financial transactions in secure locations within their

residence and place of business, including in combination or key-lock safes or strong

boxes, suitcases, locked cabinets and other types of locked or closed containers, hidden

compartments, safety deposit boxes, and storage lockers for ready access and to conceal

them from law enforcement authorities; -
g) That when drug traffickers amass proceeds from the sale of
se profits; that to accomplish this goal. drug

drugs, the drug

traffickers attempt to legitimize the

 
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Ts ultlize domestic banks and their attendant Services, securities, cashier’s

tratficke
e houses, real estate, shell corporations,

checks, money drafts, letters of credit, brokerag

and business fronts, and that drug traffickers commonly keep records of these

transactions in their residence, place of business, safety deposit boxes, and storage

lockers:
h) That drug

books or papers which reflect name
trafficking associates: and that they commonly use and carry cellular telephones, pag

traffickers commonly maintain addresses and telephone tiumbers in

s, addresses, and telephone numbers of their.drug-
ers

and/or personal digital assistants that store names, addresses, telephone numbers, and

codes of co-conspirators:

i) That drug traffickers commonly take or cause to be taken photographs and
videos of themselves, their associates, their property and/or assets, and their drugs; that
these traffickers usually maintain these photographs and videos in their Possession in

their residence, place of business, or in storage lockers;
J) That it is also common for drug traffickers to use vehicles to move quantities of
drugs and currency to other locations for storage and further distribution and use; and

k) That drug traffickers often rent vehicles instead of using their own to prevent
their own vehicles from being seized by law enforcement officials,

IV. Probable Cause
The following facts are either known to your Affiant through personal observation

or have been obtained through reliable confidential sources, law enforcement reports

and/or directly from other law enforcement officers.

 

Confidential Informant Information
During the month of March — July 2009 your affiants were cont
nce to illegal heroin trafficking in Baltimore

acted by a

confidential and reliable informant in refere

City. This informant hereafter referred to as Cl-1 related information about a male y ho

sold large quantities of heroin. This individual is known to CL-| as “MUSH”. CI-1
described “MUSH” as a black male,

Your affaint believed “NIUSH”

approximately 5°5” tall. and approximately 30 years.
to be Eric Griffin MM. B, 9/24/1979, Your

affaint obtained an arrest photo of Eric Griffin SID # 1722835. This photo was shown to

 
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“mc SA ARCHAEA RMA CR BWLD
wert

Cl-1. CI-! ‘elated that this photo was the individual “MUSH” who sold heroin,

n information in the past which has led to the
grams of powder cocaine

CI-1 has give seizure of over 500
and 500 grams of heroin. CS has give

n information in reference
to narcotic traffickers that your

affiants know to be accurate. As a result of these seizures

individuals have been arrested and convicted for felony CDS vio!

ations. CS is considered
very reliable.

Criminal Record Inquiry

A criminal record inquiry was conducted on Eric Griffin SID# 1722835.

Griffin
has an extensive criminal record. Griffi

n has a distribution of CDS conviction on
11/5/2003, possession with intent to distribute CDS conviction that occurred on

10/4/2000, Attempted Murder conviction on 9/13/1996 and a

Handgun Violation
conviction on 7/3/1996, Copy of inquiry attached.

MVA Inquiry

An inquiry with the

MVA was conducted on Eric Griffin M/B 09/24/1979. Griffin
soundex G-

615-234-009-739 has a Maryland ID. Griffin’ s

privilege to drive in Maryland
is currently suspended. Copy of inquiry is attached.

Observations of Eric Griffin on 7-21-2009

Previously you affiants were able to ascertain that Eric

Griffin was utilizing an
unknown residence in the 1200 block of Kitmore Avenue.

This information was obtained
through physical surveillance.

On July 21, 2009 members of the Baltimore Police Department se

tup
-00 block of Kitmore Avenue.

surveillance in the | Griffin was observed on several
occasions to be to enter and exit a Gold Buick Maryland registration OLJS58 trom an

Set

 
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unknown apartment in the block.
On July 21, 2009 at approximately 7:17 pm Griffin entered the gold Buick

Maryland registration 6EJS58 Griffin then drove to the 5400 block of Woodmont

approximately 7:20 pm members of the Baltimore Police
€s to arrest him for driving on

es and identification

Avenue and parked. At
Department approached Griffin’s Buick in unmarked vehicl
pon exiting our vehicles with badg

a suspended driver’s privilege. U
ace the Buick into drive. At this point Griffin was

displayed, Griffin attempted to pl

ordered out of the vehicle at g

Also recovered from his left pocket was $1015.00 US Currency. '

Griffin was advised of his tights per Miranda vs. Arizona by Detective Paul

had just driven from 1220 Ramblewood Road to 5400 Woodmont Avenue. Your affiants

know this to be incorrect. Griffin was asked if he knew anyone in the 1200 block of

Kitmore Avenue. Griffin related that he did not k

Baltimore Police then drove tz: the 1200 block of Kitmore
n the 5400 block of Woodmont

Members of the

Avenue with Griffin’s keys as Griffin was detained i

“Avenue, While in route to the location Griffin told detectives Geare and Rivera that he

could not understand why officers would try to associate him with any apartment in the

1200 block of Kitmore. Griffin then advised detective that he had two large pit bulls

located in the residence. Griffin, who was handcuffed and seat belted in the rear

Passengers side of Detectives Geare vehicle, then unbuckled his seatbelt, moved to

drivers side of the backseat, opened the back door and attempted to run from the vehicle.

Griffin was immediately stopped and restrained after a brief struggle.
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Road. These keys

Detectives placed Griffins keys into the lock of 1264 Kitmore
Road. At this point

activated the locks to the front door of the residence to 1264 Kitmore

the residence was secured.
front seat of the Buick was a receipt for payment for a storage

Recovered from the
Maryland

locker in the name of Eric Griffin at 1220 Ramblewood Road, Baltimore,

21239 date current as 6/8/2009. This storage locker was located at 73 04 McClean Blvd

Storage locker # 3603. Detectives went to t

A Baltimore Police Department canine unit was su
cer Stenger and Canine Unit 2544 “Bonnie”

is certified to detect the olfactory presence of

he unit. Copy of receipt attached,
mmonsed to 7304 McClean

Blvd Storage locker # 3603. Canine Offi

arrived at the location. Canine Unit 2544
narcotics in the state of Maryland. An exterior scan of the unit was conducted. Canine

unit 2544 detected the presence of narcotics emitting from the door to the storage unit on

7/21/2009 at 11:05 pm. Your affiants know that CDS distributors frequently utilize

storage units to conceal additional quantities of CDS, weapons, assets,

V. Conclusion
Based on the foregoing,

believe that Eric Griffin and others are participating in a cons
Controlled Dangerous Substance

it is respectfully submitted that there is probable cause to

piracy to distribute

controlled dangerous substances, in violation of the

laws, Criminal Code CR 9-101 through CR 5-110]
1264 Kitmore Road, Baltimore VI

of the Criminal Law Article of
aryland 21239 and is

Maryland; that the premises at
and the

and distribution of narcotics, narcotics proceeds,

being used for the storage
nses, and that there will be found at 1264 Kitmore Road,

facilitation of narcotics offe

 
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Baltimore Maryland 21239 and items which constitute evidence, fruits, and

instrumentalities of the aforementioned violations of the Controlled Dangerous Substance
laws,

WHEREFORE, in consideration of the facts presented, [ respectfully request that this

Court issue a search warrant for the vehicles as described above an

d the premises of
1264 Kitmore Road, Baltimore

Maryland 21239 and and authorize the search and
seizure of the items described in Attachment A hereto.

c=
Keith Gifastone ~

Detective

Baltimore Police Department

Ivo Louvado

   

Detective

2. Baltimore Police Department

 

 

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Judge

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Attachment A

Items to be Seized
afmMs (0 be Seized
EY) Controlled dangerous substances (CDS) and books, records, receipts, notes,
ordering

ledgers, money

o

sale,
b) Papers, airline tickets, passports, notes, schedules, receipts, and other items
relating to domestic or foreign travel: ,
- C) United States currency, foreign currency, precious metals, Jewelry, financial

instruments including but not limited to, stocks and bonds.
addresses, and/or telephone numbers of co-

d) Books or papers which reflect names,
conspirators involved in drug trafficking: ,
importing and distributing CDS

e) Paraphernalia for packaging, cutting, weighing,
including, but not limited to, scales, packaging materials, and other chemical

agents used to mix with CDS;
f) Indicia of occupancy, residency, ownership or lease of the residence identified on

the warrant, including but not limited to utility and telephone bills, other mail, and

keys;
4) Any Firearms, ammunition and/or paraphernalia including, but not limited to,

magazines, holsters, and gun boxes.
h) Cellular telephones, pagers, and personal digital assistants and any names, -
addresses, telephone numbers, and codes stored therein.

i) Photographs, in particular, photographs of co-conspirators, of assets, and/or of

controlled substances, in particular Marijuana, Heroin and Cocaine.

j) Any and all electronic devices capable of analyzing,
converting, or transmitting electronic or magnetic computer Impulses or data.

 

 
